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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE NUMBER:
     Michael Terpin,
                                                                            2:18-cv-06975-ODW-KS
                                              Plaintiff(s)
                           v.

     AT & T Inc et al.,
                                                              MOTION RE: INFORMAL DISCOVERY DISPUTE
                                            Defendant(s)



The parties have requested an informal discovery conference with Magistrate Judge Karen L. Stevenson
Counsel for each party has submitted their respective positions and the issue will be adjudicated in accordance
with the Magistrate Judge's procedures.
The telephonic discovery conference is scheduled for April 22, 2021 at 1:00 p.m. The call-in information has been
provided to the participating parties by email.



 Dated:          April 23, 2021                                     By:            G. Roberson
                                                                                   Deputy Clerk




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